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  Attorney for Xavier Johnson
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                                        UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
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      UNITED STATES OF AMERICA,                       )   CASE NO.      12 CR 00250 TLN
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                                                      )
                                     Plaintiff,       )
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      v.                                              )
                                                      )   STIPULATION AND ORDER TO
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                                                      )   RELIEVE DEFENDANT OF RANDOM DRUG
      XAVIER JOHNSON,                                 )   TESTING COMPONENT OF HIS RELEASE
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                                                      )   CONDITIONS
                                     Defendant.       )
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      __________________________________              )
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             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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      counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff; and Kyle Knapp,
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      attorney for defendant, XAVIER JOHNSON, that MR. Johnson be relieved of the requirement that he
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      submit to random drug testing at the request of his pre-trial services officer.   His pre-trial services
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      officer suggested this change and the allegations against him are not controlled substance related. A
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      copy of his Amended Release Conditions are attached to this stipulation as Exhibit A.
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             Mr. Johnson is in compliance with all other terms and conditions of his release.      He has
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      remained in communication with his pre-trial services officer and tested negative on all occasions.
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             Accordingly, counsel for the government and the defendant hereby stipulate that Mr. Johnson’s
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                Case 2:12-cr-00250-GEB Document 47 Filed 04/10/13 Page 2 of 3

             pre-trial release conditions be modified to delete the requirement that he submit to random drug
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  testing.
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  Dated: April 8, 2013                                           Respectfully submitted.
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                                                                      /s/ Kyle R. Knapp
                                                                 Kyle R. Knapp
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                                                                 Attorney for Defendant, Xavier Johnson
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  Dated: April 8, 2013                                           Respectfully submitted.
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                                                                      /s/ Kyle R. Knapp for
                                                                 Matthew Morris
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                                                                 Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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                                                      ORDER
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  IT IS HEREBY ORDERED that Mr. Johnson=s release conditions be modified so that he is no longer
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  required to submit to random drug testing at the direction of his pretrial services officer. All other terms
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  and conditions will remain in effect and the Amended Release Conditions attached in Exhibit A are hereby
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  adopted.
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  Dated: April 9, 2013
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           Case 2:12-cr-00250-GEB Document 47 Filed 04/10/13 Page 3 of 3
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                                         Exhibit A
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  AMENDED Conditions of Release
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  Xavier L. Johnson
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  Docket 2:12-CR-250-KJM
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  1.    You shall report to and comply with the rules and regulations of the Pretrial Services Agency;
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  2.    You shall report in person to the Pretrial Services Agency on the first working day following your release
        from custody;
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  3.    You are to reside at a location approved by the pretrial services officer and not move or absent yourself from
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        this residence for more than 24 hours without the prior approval of the pretrial services officer;
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  4.    You shall cooperate in the collection of a DNA sample;
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  5.    Your travel is restricted to the Eastern District of California and the Northern District of Georgia for court
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        purposes only without the prior consent of the pretrial services officer;
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  6.    You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon; additionally,
        you shall provide written proof of divestment of all firearms/ammunition currently under your control;
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  7.    You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled substance
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        without a prescription by a licensed medical practitioner; and you shall notify Pretrial Services immediately
        of any prescribed medication(s). However, medicinal marijuana, prescribed or not, may not be used;
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  8.    You shall surrender your passport to the Clerk, U. S. District Court, and obtain no passport during the
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        pendency of this case;
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  9.    You shall report any contact with law enforcement to your pretrial services officer within 24 hours; and
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  10.   You shall seek and/or maintain employment and provide proof of same as requested by your pretrial services
        officer;
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  11.   You shall appear for all traffic court proceedings regarding the pending state case in Georgia; and
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  12.   You shall not associate or have any contact with co-defendant, William L. Brown, unless in the presence of
        defense counsel or otherwise approved in advance by the pretrial services officer. You shall only have
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        contact with co-defendant, Kristin Caldwell, for the purpose of facilitating child custody issues and
        visitation arrangements.
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